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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA,           )
     v.                             )       Criminal No. 2:19-cr-15-gwc
KURT ANDALL,                        )
Defendant.                          )


                              EXHIBITS RE:
               DEFENDANT’S MEMORANDUM IN AID OF SENTENCING


  A. Letter to the Court from Kurt Andall
  B. High School Transcript
  C. Letter of Support from Andrea Andall Parsons (mother)
  D. Letter of Support from Richard Bailey (brother of Selenia Andall)
  E. Letter of Support from Tambrea Pitts (family friend)
  F. Letter of Support from Carlene Greige-Graver with Photos (Defendant’s
     sister)
  G. Letter of Support from Derek Parsons (Defendant’s step-father)
  H. Letter of Support from Kasheim Castillo (Defendant’s brother)
  I. Affidavit of Selenia Andall




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